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United States Magistrate Court
SS6-S0TX
FILED

DEC -2 2019 2A
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS David J. Bradley, Clerk
LAREDO DIVISION Laredo Division

UNITED STATES OF AMERICA §
§

Vv. § CRIMINAL NO. 5:19-CR-01847
§
MONICA CHRISTINE CANALES §
RODRIGUEZ §
Defendant. §

PLEA AGREEMENT -- ADDENDUM

I have fully explained to Defendant his/her rights with respect to the pending indictment. I
have reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual
and Policy Statements and I have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case. I have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the maximum
allowed by statute per count of conviction. Further, I have carefully reviewed every part of this
plea agreement with Defendant. To my knowledge, Defendant’s decision to enter into this

agreement is an informed and voluntary one.

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RAUL GUERRA, Date
Attorney for Defendant

 

 

I have consulted with my attorney and fully understand all my rights with respect to the
indictment pending against me. My attorney has fully explained, and | understand, all my rights
with respect to the provisions of the United States Sentencing Commission’s Guidelines Manual
which may apply in my case. | have read and carefully reviewed every part of this plea agreement

with my attorney. I understand this agreement and | voluntarily agree to its terms.

amen CO edniossy /2-A-/9
MONICA CHRISTINE CANALES RODRIGUEZ) Date
Defendant ‘

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